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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES LIABILITY                           CIVIL DIVISION
 INSURANCE COMPANY,

                        Plaintiff,                 Civil Action No. 8:22-cv-01278-PX

        v.

 GERHARDT AND ASSOCIATES INC.                      STIPULATION OF VOLUNTARY
 d/b/a MAREDITH MANAGEMENT                         DISMISSAL PURSUANT TO
                 Defendant.                        F.R.C.P. 41(a)(1)(A)(ii)




                      STIPULATION OF VOLUNTARY DISMISSAL
                         PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and their

respective counsel that the above-captioned action is voluntarily dismissed, with prejudice

against the defendant Gerhardt and Associates Inc. d/b/a Maredith Management pursuant to the

Federal Rule of Civil Procedure 41(a)(1)(A)(ii), with each party to bear its own costs.



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                                                   Counsel for Plaintiff,
                                                   United States Liability Insurance Company

 Dated: February 13, 2023                          Dated:   February 13, 2023
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